  Case 3:19-mj-00224-MRC Document 7 Filed 06/04/20 Page 1 of 16 PageID# 23




                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         EASTERN DISTRICT OF VIRGINIA
                                Richmond Division

 UNITED STATES OF AMERICA                       )
                                                )
        v.                                      )   Case No. 3:19-mj-224
                                                )
                                                )
 OLABANJI OLADOTUN EGBINOLA                     )
                                                )
                               Defendant        )


               AFFIDAVIT IN SUPPORT OF REQUEST FOR EXTRADITION OF
                       OLABANJI OLADOTUN EGBINOLA

       I, Brian R. Hood, being duly sworn, state that:

       1.      I am a citizen of the United States of America and a resident of the

Commonwealth of Virginia. I make this affidavit in support of the request of the United States

of America to the United Kingdom of Great Britain and Northern Ireland for the extradition of

Olabanji Oladotun Egbinola, a dual citizen of the United Kingdom and Nigeria.

       2.      I graduated from the Georgetown University Law Center in 1994. From 1999 to

the present, I have been employed by the United States Department of Justice as an Assistant

United States Attorney for the Eastern District of Virginia. My duties are to prosecute persons

charged with criminal violations of the laws of the United States. During my practice as an

Assistant United States Attorney, I have become knowledgeable about the criminal laws and

procedures of the United States.




Page 1 of 16
  Case 3:19-mj-00224-MRC Document 7 Filed 06/04/20 Page 2 of 16 PageID# 24




       3.      In the course of my duties, I have become familiar with the charges and evidence

in the case of United States v. Egbinola, Criminal No. 3:19-mj-224, filed in the United States

District Court for the Eastern District of Virginia.

       4.      The charges in Egbinola follow an investigation by the Federal Bureau of

Investigation (“FBI”), which revealed that from on or about September 26, 2018, through on or

about December 26, 2018, Olabanji Oladotun Egbinola, a dual Nigerian-UK citizen, conspired

with others to defraud Virginia Commonwealth University of $469,819.49 and to launder the

proceeds of fraud.

                         SUMMARY OF THE FACTS OF THE CASE

       5.      Business email compromise (“BEC”) fraud schemes come in a variety of forms,

but all have in common the perpetrators’ use of emails and social engineering to impersonate a

party in a business transaction. When the impersonation is successful, the perpetrators convince

victims to send money to bank accounts that the perpetrators control. Victims of BEC schemes

typically include state and local government agencies, universities and businesses.

       6.      Virginia Commonwealth University (“VCU”) is a public university located in

Richmond, Virginia, and within the jurisdiction of the United States District Court for the

Eastern District of Virginia. On September 26, 2018, an individual using the name “Rachel

Moore” contacted an employee in VCU’s procurement department using the email address

accounts@kjellstromleegroup.com. As detailed further below, the domain name associated with

accounts@kjellstromleegroup.com is purposefully very similar to the actual email domain name

for Kjellstrom and Lee, Inc., which is a large construction company located in Richmond,

Virginia, and which has completed construction projects for multiple universities including


Page 2 of 16
    Case 3:19-mj-00224-MRC Document 7 Filed 06/04/20 Page 3 of 16 PageID# 25




VCU. “Rachel Moore” advised the procurement department employee that the bank account on

file for receiving payments was currently being audited and inquired if the next payment could

be sent to another bank account. From October 4, 2018, through December 10, 2018, “Rachel

Moore” repeatedly emailed back and forth with the VCU employee, using a variety of social

engineering techniques that convinced the VCU employee that the sender worked for the

accounting department at Kjellstrom and Lee. “Rachel Moore” persuaded the VCU employee

that Kjellstrom and Lee had signed up to receive payments in the form of ACH transactions 1 to

an account with the Bank of Hope located in Los Angeles, California.

       7.      On December 20, 2018, VCU initiated a payment via ACH wire transfer for

$469,819.49 from their bank account to a particular Bank of Hope account as requested in the

ACH setup form provided by “Rachel Moore.” On January 3, 2019, VCU was contacted by

their bank, which raised concerns that the December 20, 2018 wire transfer was fraudulent.

VCU contacted Kjellstrom and Lee and learned the construction company did not have an

employee named “Rachel Moore,” nor had any employee taken action to establish ACH wiring

procedures to receive payments from VCU.

       8.      The December 20, 2018 wire from VCU appeared in the Bank of Hope account

the next day, December 21, 2018. At the time the VCU wire posted, the account was overdrawn

and had a balance of -$246.64. Over the next three days, from December 21 to December 24,

2018, the authorized signer(s) for this account initiated four wire transfers and wrote 38 checks



1
  In banking, ACH stands for Automated Clearing House, which is a network that coordinates
electronic payments and automated money transfers. ACH is a way to move money between
banks without using paper checks, wire transfers, credit card networks, or cash.


Page 3 of 16
  Case 3:19-mj-00224-MRC Document 7 Filed 06/04/20 Page 4 of 16 PageID# 26




totaling $452,736.90, or approximately 96% of the $469,819.49 received from VCU. These

payments involved 25 different payees, many of whom appeared to be clothing and textile

companies located in Los Angeles, California. Of the 38 checks written on the Bank of Hope

account, 22 checks were for amounts between $7,000 and $9,840, which is indicative of efforts

to circumvent currency-reporting requirements for transactions over $10,000. The majority of

the wire transfer by VCU could not be recovered and was a loss for the university.

       9.      Bank records obtained from Bank of Hope for the account that received the wire

transfer from VCU showed that the account was opened by a subject, identified herein as “S.C.,”

in the name of EDHD, Inc. Those records further showed that EDHD, Inc. was incorporated by

a second subject, identified herein as “H.C.,” who is the father of S.C.

       10.     FBI agents interviewed S.C. and H.C. on February 25 and March 1, 2019,

respectively, in Los Angeles, California. Investigators learned that S.C. opened the account at

H.C.’s direction. During his interview with investigators, H.C. acknowledged receiving the

$469,819.44 wire. According to H.C., sometime in January 2019 “two white men” walked into

his company at EDHD Inc., located at 825 E. 29th Street, Los Angeles, California, and asked to

go into business with him. H.C. claimed that he had never met those men before, and did not

recall their names, phone numbers or any other contact information. H.C. said that he gave his

Bank of Hope account information to these individuals in the form of a voided check, and

believed they were investors who wanted to invest in his company. Shortly thereafter, the

$469,819.44 wire transfer was deposited into his account. H.C. said he had several outstanding

debts and therefore did not ask questions about the source of the funds. H.C. admitted during

his interview that he had used an ink stamp with S.C.’s signature to endorse the checks, and that


Page 4 of 16
  Case 3:19-mj-00224-MRC Document 7 Filed 06/04/20 Page 5 of 16 PageID# 27




he had directed his son S.C. to make the four wire transfers out of the account immediately after

receiving the incoming $469,819.44 wire transfer.

       11.     A review of publicly available information, as well as records obtained pursuant

to legal process, determined that the “kjellstromleegroup.com” domain associated with the

fraudulent emails to VCU was registered by NameCheap, Inc. (“NameCheap”), which is an

accredited Internet domain name registrar. NameCheap also provided email services for the

kjellstromleegroup.com domain. Records provided by NameCheap revealed that

kjellstromleegroup.com was registered by someone using the NameCheap username

“bridgetclark” on September 26, 2018, which was the same day that VCU received the first

fraudulent email message from “Rachel Moore” using email address

accounts@kjellstromleegroup.com.

       12.     NameCheap’s records show that the “bridgetclark” account was opened on March

13, 2017. These records further show that the NameCheap user “bridgetclark” had registered

more than 60 domains incorporating deceptively subtle variations on the true Internet domain

names belonging to legitimate construction companies.

       13.     Records obtained from NameCheap indicate that the subject(s) using the

“bridgetclark” account used technological means to conceal their true location(s). Many of the

IP addresses used to login to the “bridgetclark” account resolved to US-based networking

providers that rent virtual private servers (VPS), provide virtual private network (VPN) services,

and resell their IP address space to other VPN providers. By design, VPNs and VPSs provide

encryption and privacy that enable users to transmit data securely across open networks without

revealing their true location or the contents of those communications. Many also accept


Page 5 of 16
  Case 3:19-mj-00224-MRC Document 7 Filed 06/04/20 Page 6 of 16 PageID# 28




payment in various forms of cryptocurrency, such as Bitcoin, which further obscures the identity

of the account holder. In fact, the “bridgetclark” NameCheap account was paid for using

Bitcoin.

       14.     Numerous other IP addresses used to log into the “bridgetclark” account resolved

to Internet service providers in the United Kingdom, including many cellular data companies.

Prepaid cellular data plans are difficult to trace due to the multitude of ways the service can be

paid for without having to use identifying payment methods such as credit cards in true name.

Due to network engineering considerations, many cellular providers route multiple customers’

data through a single IP address at any given time, which significantly complicates the ability of

investigators to pinpoint the correct device that is associated with a specific Internet

communication. Many cellular providers maintain logs for relatively short periods, making it

difficult to obtain the assistance of foreign law enforcement in time to contact the carrier and

obtain identifying subscriber records.

       15.     Based on this evidence of technological obfuscation, along with the unknown

identity and location of the perpetrator using accounts@kjellstromleegroup.com, on February 12,

2019, the Honorable David J. Novak, United States Magistrate Judge for the United States

District Court for Eastern District of Virginia, issued a search warrant for electronic data.

       16.     On February 13, 2019, an FBI special agent sent an email containing an attached

document to accounts@kjellstromleegroup.com from an account that appeared to be associated

with VCU. FBI investigators determined that someone accessed the email account and opened

the attached document from an Internet account with IP address 86.191.189.88. Public source

information indicated that British Telecomm (“BT”) owned this IP address.


Page 6 of 16
  Case 3:19-mj-00224-MRC Document 7 Filed 06/04/20 Page 7 of 16 PageID# 29




                                  IDENTIFYING EGBINOLA

       17.     FBI investigators provided information to British criminal investigators relating to

UK-based IP addresses used to access the “bridgetclark” NameCheap account as well as

information gathered during the course of the FBI’s investigation. The 86.191.189.88 IP

address, at the relevant time, was subscribed to a BT customer identified as Samiat Egbinola

(Egbinola’s wife) of 56 Francisco Close, Chafford Hundred, Essex, RM16 6YD. Also residing

at that address is Olabanji Oladotun Egbinola.

       18.     Olabanji Oladotun Egbinola has a history of convictions for fraud crimes and

connection to fraud-related activities in the United Kingdom. He has a 2008 conviction for

Possession of Control Articles in Use of Fraud, which involved money laundering a large

quantity of U.S. dollars and Egbinola’s possession of a computer with bank account information

for up to 80 who were victims of fraud. Egbinola also has convictions in 2000, for Theft and

Fraud by False Rep – Using False Instrument with Intent to Be Accepted as Genuine, and in

1999, for Using False Instrument with Intent to Be Accepted as Genuine.

       19.     Egbinola also has links to other known BEC bad actors. U.S. government

records show that, during two prior trips to Los Angeles, California, in 2015 and 2019, Egbinola

listed the personal email address aegbinola@gmail.com on government travel documents.

Evidence obtained pursuant to a search warrant for the aegbinola@gmail.com account shows that

Egbinola exchanged multiple emails with johnedwards79@yahoo.co.uk. Investigators know

that the latter account has been used as an integral part of a separate but similar BEC fraud

scheme being prosecuted in U.S. District Court for the Western District of North Carolina.

Evidence obtained by investigators there revealed that a British citizen, Oludayo Kolwole


Page 7 of 16
  Case 3:19-mj-00224-MRC Document 7 Filed 06/04/20 Page 8 of 16 PageID# 30




Adeagbo, 2 managed the johnedwards79@yahoo.co.uk account, which contained emails with

invoices from a company that sold construction project information, as well as emails from a

VPN provider.

                              PROCEDURAL HISTORY OF THE CASE

         The Charging Process

         20.      Outside the context of a negotiated guilty plea between the defendant and the

government, under the federal law of the United States there are two ways to commence a

criminal prosecution. The first is by indictment. An indictment is a charging document that is

issued by a grand jury after considering evidence in a case and finding that there is probable

cause that the named defendant committed the offense(s) listed in the indictment. The United

States’ Constitution creates the express requirement that “[n]o person shall be held to answer for

a capital, or otherwise infamous crime, unless on presentment or indictment of a Grand Jury….”

While the grand jury is technically an arm of the court, it is an independent body composed of

private citizens—not less than 16 and not more than 23 people—whom the United States District

Court has selected at random from the residents of the judicial district in which the court resides.

The purpose of the grand jury is to review the evidence of crimes, including sworn testimony,

presented to it by United States law enforcement authorities. After independently reviewing this

evidence, if at least 12 jurors find that the evidence provides probable cause to believe that a




         2
           On April 17, 2019, a grand jury sitting in U.S. District Court for the Western District of North Carolina
returned an indictment, criminal case number 5:19-CR-34-FDW, charging Adeagbo and another British citizen,
Donald Ikenna Echeazu, with: 1) conspiracy to commit wire fraud, in violation of Title 18, United States Code,
Sections 1343 and 1349; 2) conspiracy to commit money-laundering, in violation of Title 18, United States Code,
Sections 1956(a)(1)(B)(i), 1956(h), and 1957(a); and 3) aiding and abetting aggregated identity theft, in violation of
Title18, United States Code, Sections 2 and 1028A(a)(1).

Page 8 of 16
  Case 3:19-mj-00224-MRC Document 7 Filed 06/04/20 Page 9 of 16 PageID# 31




particular person committed the crime, the grand jury may return an indictment that formally

charges the person, who is now the defendant, thereby initiating criminal proceedings. Once the

indictment is filed with the court, the clerk of the court, at the direction of a judge, normally

issues a warrant for the defendant’s arrest.

       21.     The second way to commence a federal criminal prosecution is by criminal

complaint, which is a written statement of the essential facts constituting the offense charged.

To obtain a complaint, an affiant must swear to the written statement of facts under oath before a

magistrate judge or, if none is reasonably available, before a state or local judicial officer. The

written statement of facts establishing probable cause that the named defendant committed the

charged offense is typically contained in a separate affidavit accompanying the criminal

complaint.

       22.     On December 19, 2019, a criminal complaint, case number 3:19-mj-224, was

filed in the United States District Court for the Eastern District of Virginia, charging Egbinola

with criminal offenses against the laws of the United States.

       23.     It is the practice of the United States District Court for the Eastern District of

Virginia to retain the original criminal complaint and file it with the records of the court.

Consequently, I have obtained a copy of the criminal complaint from the clerk of the court and

have attached it to this affidavit as Exhibit A.

       24.     On December 19, 2019, based on the criminal complaint, the United States

District Court for the Eastern District of Virginia issued an arrest warrant for Egbinola. It is the

practice of the United States District Court for the Eastern District of Virginia to retain the

original arrest warrant and file it with the records of the court. I have therefore obtained a copy


Page 9 of 16
 Case 3:19-mj-00224-MRC Document 7 Filed 06/04/20 Page 10 of 16 PageID# 32




of the arrest warrant from the clerk of the court and have attached it to this affidavit as

Exhibit B.

                The Charges and Pertinent United States Law

       25.      The criminal complaint charges in four counts that Egbinola committed the

following offenses:

       Count 1:        Wire Fraud, in violation of Title 18, United States Code, Section 1343,
                       which carries a maximum penalty of 20 years’ imprisonment;

       Count 2:        Conspiracy to Commit Wire Fraud, in violation of Title 18, United States
                       Code, Section 1349, which carries a maximum penalty of 20 years’
                       imprisonment;

       Count 3:        Money Laundering, in violation of Title 18, United States Code,
                       Section 1956(a)(1), which carries a maximum penalty of 20 years’
                       imprisonment; and

       Count 4:        Conspiracy to Commit Money Laundering, in violation of Title 18, United
                       States Code, Section 1956(h), which carries a maximum penalty of 20
                       years’ imprisonment.

       26.      The United States requests the extradition of Egbinola for all of these offenses.

Each count charges a separate offense. Each offense is punishable under a statute that: 1) was

the duly enacted law of the United States at the time the offense was committed; 2) was the duly

enacted law of the United States at the time the criminal complaint was filed; and 3) is currently

in effect. Each offense is a felony offense punishable under United States law by more than one

year of imprisonment. I have attached copies of the pertinent sections of these statutes and the

applicable penalty provisions to this affidavit as Exhibit C.

       27.      Count One charges Egbinola with wire fraud in violation of Title 18, United

States Code, Section 1343. The two elements the government must prove to convict the

defendant of wire fraud are: 1) that the defendant devised or intended to devise a scheme to

Page 10 of 16
 Case 3:19-mj-00224-MRC Document 7 Filed 06/04/20 Page 11 of 16 PageID# 33




defraud or for obtaining money or property by means of false or fraudulent pretenses,

representations, or promises that were material; and 2) that for the purpose of executing the

scheme, the defendant transmitted or caused to be transmitted by means of wire, radio, or

television communication in interstate or foreign commerce any writings, signs, signals, pictures,

or sounds.

       28.      Count Two charges Egbinola with conspiracy to commit wire fraud, in violation

of Title 18, United States Code, Section 1349. To satisfy its burden of proof and convict

someone of wire fraud conspiracy, at trial the government must establish that: 1) two or more

persons entered an agreement to commit the underlying offense (i.e., wire fraud); 2) each

defendant joined the conspiracy to commit the underlying offense; and 3) each defendant did so

with the intent to further its unlawful purpose.

       29.      Under United States law, a conspiracy is an agreement to commit one or more

criminal offenses. The agreement on which the conspiracy is based need not be expressly

written or spoken, but may simply be a tacit understanding by two or more persons to do

something illegal. Criminal conspirators enter into a joint venture in which each participant

becomes a partner or agent of every other member. A conspirator need not have full knowledge

of all the unlawful scheme’s details or every co-conspirator’s identity. If a person understands

the unlawful nature of a plan, and knowingly and willfully agrees to it, he is guilty of conspiracy,

even when he belatedly joins or plays a minor part in the conspiracy. A conspirator can be held

responsible for all reasonably foreseeable actions undertaken by others in furtherance of the

conspiracy. Because of the nature of this criminal partnership, statements made by a conspirator




Page 11 of 16
 Case 3:19-mj-00224-MRC Document 7 Filed 06/04/20 Page 12 of 16 PageID# 34




during the course of and in furtherance of the conspiracy are admissible against all conspiracy

members, not just the declarant.

       30.      The crime of conspiracy is an independent offense, separate and distinct from the

commission of any specific “substantive crimes.” Consequently, a conspirator can be found

guilty of the crime of conspiracy to commit an offense even where the substantive crime that was

the purpose of the conspiracy is not committed. The Congress of the United States has deemed

it appropriate to make conspiracy, standing alone, a separate crime, even if the conspiracy is not

successful, because collective criminal planning poses a greater threat to the public safety and

welfare than individual conduct and increases the likelihood of success of a particular criminal

venture.

       31.      Regarding Counts One and Two, the government’s evidence will establish that

Egbinola controlled the email account accounts@kjellstromleegroup.com that was used to

impersonate “Rachel Moore” with the Kjellstrom and Lee construction company and trick

employees of VCU into wiring $469,819.49 to a bank account that the conspiracy members

controlled. The government’s evidence will further establish that the conspirators used a

NameCheap account under the name “bridgetclark” to register more than 60 Internet domain

names that were deceptively similar to the true Internet domains for various construction

companies, including Kjellstrom and Lee. The government will prove this with testimony from

employees of VCU and Kjellstrom and Lee, bank records, Internet business records and

computer forensics.

       32.      Count Three charges Egbinola with money laundering, in violation of Title 18,

United States Code, Section 1956(a)(1). To prove the defendant guilty of money laundering, the


Page 12 of 16
 Case 3:19-mj-00224-MRC Document 7 Filed 06/04/20 Page 13 of 16 PageID# 35




government must prove the following four elements: 1) that the defendant conducted or

attempted to conduct a financial transaction having at least a minimal effect on interstate

commerce or involving the use of a financial institution which is engaged in, or the activities of

which have at least a minimal effect on, interstate or foreign commerce; 2) that the property that

was the subject of the transaction involved the proceeds of specified unlawful activity; 3) that the

defendant knew that the property involved represented the proceeds of some form of unlawful

activity; and 4) that the defendant engaged in the financial transaction with the intent to promote

the carrying on of specified unlawful activity.

       33.      “Financial transaction” as defined in Title 18, United States Code,

Section 1956(c)(4), means a transaction which in any way or degree affects interstate or foreign

commerce involving the movement of funds by wire or other means or involving one or more

monetary instruments.

       34.      The definition of “specified unlawful activity” is given in Title 18, United States

Code, Section 1956(c)(7), which lists several categories of offenses that constitute “specified

unlawful activity.” Wire fraud is included as a “specified unlawful activity” under Title 18,

United States Code, Section 1956(c)(7)(A), which in turn incorporates the list of “racketeering

activities,” including wire fraud, set forth in Title 18, United States Code, Section 1961(1).

       35.      Count Four charges Egbinola with conspiracy to commit money laundering, in

violation of Title 18, United States Code, Section 1956(h). To satisfy its burden and convict

someone of this offense, the government must prove that: 1) a conspiracy, agreement, or

understanding to commit money laundering was formed or entered into by two or more persons

at or about the time alleged; 2) at some time during the existence or life of the conspiracy,


Page 13 of 16
 Case 3:19-mj-00224-MRC Document 7 Filed 06/04/20 Page 14 of 16 PageID# 36




agreement, or understanding, the defendant knew that the property involved represented the

proceeds of some form of specified unlawful activity; and 3) the defendant knowingly and

voluntarily joined the conspiracy, agreement, or understanding.

       36.      For Counts Three and Four, the government’s evidence will establish that

Egbinola persuaded employees of VCU to wire $469,819.49 to a Bank of Hope account

controlled by an individual identified as “H.C.” The Bank of Hope account received that wire

on December 21, 2018. From December 21, 2018, through December 24, 2018, two authorized

signers for this account initiated four wire transfers and wrote 38 checks totaling $452,736.90, or

approximately 96% of the $469,819.49 received from VCU. These payments involved 25

different payees, and the majority were for amounts close to but less than $10,000 in what

appears to have been an effort to avoid currency transaction reporting requirements under United

States federal law. The government will prove this with bank records, Internet business records,

computer forensics, testimony from S.C., and testimony from FBI investigators pertaining to an

interview conducted with H.C.

       Description of Fugitive

       37.      Olabanji Oladotun Egbinola, a/k/a Abayomi Egbinola, is a dual Nigerian-United

Kingdom citizen born on August 13, 1979. He is described as a black male, with cropped black

hair and brown eyes. He holds UK passport number 801844301. Egbinola holds a Nigerian

passport number AXXXXXXXX, a photograph of which investigators discovered while reviewing

evidence obtained pursuant to the search warrant executed on his aegbinola@gmail.com account.

Copies of his Nigerian passport and UK passport information are attached as Exhibit D.




Page 14 of 16
 Case 3:19-mj-00224-MRC Document 7 Filed 06/04/20 Page 15 of 16 PageID# 37




                                          CONCLUSION

       37.      I have attached the following documents in support of this request for the

extradition of Egbinola:

       A.       Exhibit A is a copy of the criminal complaint;

       B.       Exhibit B is a copy of the arrest warrant;

       C.       Exhibit C is a copy of the pertinent sections of the following statutes and their
                penalties:

                1.     Title 18, United States Code, Section 1343

                2.     Title 18, United States Code, Section 1349

                3.     Title 18, United States Code, Section 1956(a)(1)

                4.     Title 18, United States Code, Section 1956(h)

                5.     Title 18, United States Code, Section 1956(c)(4)

                6.     Title 18, United States Code, Section 1956(c)(7)

                7.     Title 18, United States Code, Section 1961(1)

       D.       Exhibit D is a copy of Egbinola’s UK passport information as well as a copy of
                his Nigerian passport.




Page 15 of 16
 Case 3:19-mj-00224-MRC Document 7 Filed 06/04/20 Page 16 of 16 PageID# 38




       38.      I have thoroughly reviewed the government’s evidence against Egbinola and

attest that the evidence indicates that Egbinola is guilty of the offenses charged in the Criminal

Complaint.



       Executed this 4th day of June, 2020, at Richmond, Virginia, United States of America.


                                              G. ZACHARY TERWILLGER
                                              United States Attorney



                                              BRIAN R. HOOD   D
                                              Assistant United States Attorney


       Sworn to me by the affiant using reliable electronic means, specifically telephone,

on this 4th day of June, 2020, at Richmond, Virginia, United States of America.




Page 16 of 16
